Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 1 of 13




                 EXHIBIT X
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 2 of 13
     10_24_2018 10 28 39                                             Page 1


1    Call Date:   2018-10-24

2    Call Duration:     11:17

3    Call Begin [     ] Call End [     ]

4    Call Participants:

5        Elizabeth Keating (sp?)

6        Bill McGlashan

7        Justin O’Connell (sp?)

8        Eric Rosen

9        Kaitlin Sedroni (sp?)

10       Rick Singer (Finn (sp?))

11       Lara Smith (sp?)

12       M1

13   File Name:   10_24_2018 10 28 39

14   Bates No.:

15

16   [00:00]

17   SEDRONI:   This is Special Agent Kaitlin Sedroni (sp?), here

18       with Special Agents Lara Smith and Elizabeth Keating, as

19       well as AUSA’s Eric Rosen and Justin O’Connell (sp?)

20       and...

21   SINGER:    Finn.

22   SEDRONI:   It is appro-- it is Wednesday, October 24th, 2018, at

23       approximately 10:28 a.m.       Finn will be making a

24       consensual recording with Bill McGlashan at the United
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 3 of 13
     10_24_2018 10 28 39                                             Page 2


1          States Attorney’s Office in Boston, Massachusetts.         I

2          will now be handing over the recording device.

3    (pause)

4    (phone ringing)   [01:00]

5    M1:   Rick, you there?

6    SINGER:   I’m here.     How are ya, Bill?

7    M1:   Oh, hey, sorry about that.     My, my bad cell coverage

8          there for a minute.

9    SINGER:   No problem.

10   M1:   I’m good.

11   SINGER:   No problem.

12   M1:   So what’s goin’ on?

13   SINGER:   So --

14   M1:   I’ve been feelin’ bad for ya.

15   SINGER:   Well, I wanted to apologize yes-- for, you know,

16         screwin’ up our meeting, so I apologize.       I essentially

17         flew up to Sacramento yesterday, and I’m super happy I

18         did, ’cause I got a chance to meet with my old attorney,

19         Don Heller --

20   M1:   Uh-huh.

21   SINGER:   -- a-and he talked me off the ledge, because, as you

22         know -- as you could tell by my call the other day, I was

23         on the ledge.

24   M1:   Yeah.
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 4 of 13
     10_24_2018 10 28 39                                             Page 3


1    SINGER:    Um, he told me that I was overreacting a little bit

2          because, um...    So I just wanted to make sure that we

3          talked, and, uh, you kinda knew what was goin’ on.         And

4          since I respect your opinion, I just wanted to get an --

5          your opinion of kinda what’s happened --

6    M1:   Mm-hmm.

7    SINGER:    -- so that, um -- because you have more experience

8          just in the world than I do.     So here --

9    M1:   Mm-hmm.

10   SINGER:    -- so here’s kinda what happened: [02:00] uh, Mark

11         Ridell (sp?), who is the -- my expert test-taker, who

12         took the test for           --

13   M1:   Mm-hmm.

14   SINGER:    -- at Igor School, West Hollywood College Prep, um,

15         he called me to meet at Barney’s Beanery, you know, in

16         West Hollywood.    Have you ever been there?

17   M1:   Never.

18   SINGER:    OK.     Well, it’s a really cool place in West

19         Hollywood.    But he calls me, and he kinda comes out to LA

20         every once in a while, and he just had his, his first

21         child, so his in-laws live in LA, so he said, “Let’s meet

22         at Barney’s Beanery.”    So anyway, so Mark starts talkin’

23         to me and tells me a story that he, he got interviewed by

24         the -- an IRS agent in Florida, because he lives in
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 5 of 13
     10_24_2018 10 28 39                                             Page 4


1          Bradenton, about the payments that he received from my

2          foundation.   And, as you know, when families pay for

3          either, either takin’ the test or goin’ through the side

4          door, all the money goes through my foundation, and then

5          I pay it out to whoever needs to get paid, like I did

6          for, you know,          --            [03:00] test when he

7          took the test at West Hollywood College Prep.        So I paid

8          half of it to Mark and half of it to West Hollywood

9          College Prep through my foundation, so that the family

10         essentially has no connection back to what has happened.

11         So I asked Mark what he did with the agent, and what they

12         talked about, and he told me that he hasn’t been

13         declaring his payments from my foundation as income for

14         his taxes.    So apparently he’s been declaring all this

15         income as a gift, which was stupid.       But the agent said,

16         uh, “I’m really not so focused on Mark and your payments;

17         what I’m focused on is this foundation.”       And he kept

18         askin’ him questions about the foundation’s mission, what

19         they do, um, how they help underserved kids, so on and so

20         forth.    So, you know, since Mark does tutoring for us

21         [04:00] he told the agent that, you know, he works with

22         kids for us, i-- underserved kids in the Bradenton area.

23   M1:   Mm-hmm.
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 6 of 13
     10_24_2018 10 28 39                                             Page 5


1    SINGER:     So when he gets done speakin’, I kinda freak out,

2          right?     Because now I’m thinkin’, oh, shit, I’m in a --

3          I’m in a lot of trouble here, and the IRS has me wired.

4          Um, they probably have me -- you know, bugged my house,

5          the whole thing, because he’s talkin’ all about my

6          foundation, and, you know, he really wants to dive into

7          this.     So when I met with Don, he told me, “Rick, hold

8          on.     Just relax.    Um, for them to get a wiretap on you,

9          it takes a, a bunch of months to happen, and you just

10         need to relax.”       So --

11   M1:   Mm-hmm.

12   SINGER:     -- you know, overnight I’m a lot less worried than I

13         was a couple days ago (laughs) when we talked, but I just

14         -- you know, I’m gonna use this phone, which is my son’s

15         phone, um, and I did it --

16   M1:   Mm-hmm.

17   SINGER:     -- for us to talk so that there are, you know, no

18         issues, just in case.

19   M1:   Yep, yep.

20   SINGER:     And [05:00] it’s, it’s real-- to be frank with you,

21         um, Bill, it’s really embarrassing, so I hope you’ll just

22         keep this between you and I.

23   M1:   Of course.     Well, I think -- I mean, the good news is --

24         I mean, from, from my personal perspective, is, is, uh,
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 7 of 13
     10_24_2018 10 28 39                                             Page 6


1          you know, we, we s-- sorta haven’t done anything yet,

2          which I’d prefer not to do in the context -- just t-till

3          it’s all cleared up exactly, you know, what the dynamic

4          is of the foundation.      I’d rather just sorta lay low.

5    SINGER:      OK.    So, so --

6    M1:   I mean, I -- it, it, it seem-- it seems like a better

7          idea, because, I mean, until you’re confident that...

8          Uh, m-my, my concern, obviously, is I’m trying to help my

9          son, but I don’t want to create a dynamic for him that’s,

10         that’s impossible --

11   SINGER:      Right.

12   M1:   -- to manage.

13   SINGER:      Right.

14   M1:   Yep.

15   SINGER:      Right, and, and, you know, we have the applications

16         ready.       I mean, I know --

17   M1:   Well, I want -- I want you to keep doing what you do

18         brilliantly, which is coaching my kids and helping them,

19         um -- helping them the way you are.       I -- I’m, [06:00]

20         I’m grateful for what you do, and you’re, you’re, you’re

21         unique at it.      The fact is that side door is a lovely

22         additional de-stresser, but if it doesn’t -- if it isn’t

23         possible, it isn’t possible.

24   SINGER:      OK, gotcha.    Well --
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 8 of 13
     10_24_2018 10 28 39                                             Page 7


1    M1:   You know?

2    SINGER:       -- so I, I will keep you in play, um, and I know --

3    M1:   Yeah.

4    SINGER:       -- you got -- you got Jimmy Iovine (sp?), you got

5          all those guys helpin’ you, and that’s cool --

6    M1:   Yeah.

7    SINGER:       -- and that’s cool.   We just, as you --

8    M1:   Well, (inaudible), the, the iro-- the irony -- (laughs)

9          the irony of the whole way the system works, as I’ve

10         become sort of conscious of it -- I had this call with,

11         with, uh, the -- our -- Marc, uh, Benioff knows                 is

12         interested in SC, and so he, he just gave 20 million

13         bucks to the school and is on the board, and he called

14         down to this, this guy, who’s one of the development

15         folks, that, and just said, “Look, I want you to know who

16         Bill is,” and da-da-da.       The irony of the whole thing is

17         that i-it is...     (laughs) The way these schools work,

18         particularly commercial schools like SC, you -- uh, my

19         [07:00] impression -- uh, this may be wrong; you would

20         know -- is it, it is so, um, commercial.       I mean, you

21         know, it, it, it’s very clear to me that if they sense

22         that I’m gonna write a check, they’re gonna do what they

23         can do to get me in --

24   SINGER:       And --
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 9 of 13
     10_24_2018 10 28 39                                             Page 8


1    M1:   -- at that school.

2    SINGER:    And you’re -- and --

3    M1:   My son in.

4    SINGER:    And you’re right, and that’s where -- that’s, that’s

5          --

6    M1:   It’s just -- it’s just --

7    SINGER:    -- why USC’s become the power.

8    M1:   -- it’s...     It’s just (inaudible)...    Well, and by the

9          way, you flip it around, you say if you’ve got 5,000

10         kids, effectively, in an undergraduate class, you could

11         have 4,000 of them be 4.0, perfect, you know, test

12         scores, and still let a thousand in that are -- that are,

13         you know, people that are well-connected, that are gonna

14         help you grow your school, and you’ve got an amazing

15         program --

16   SINGER:    And --

17   M1:   -- you know?

18   SINGER:    And, and that’s essentially what USC’s done, right?

19   M1:   Yeah, it’s brilliant.

20   SINGER:    Right?    You got -- you know, Benioff’s given his

21         money, and, uh, you know, everybody else is, is gi-- is

22         doin’ their thing.     They’re tryin’ to hire the president.

23         Everybody who’s --

24   M1:   Yeah.
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 10 of 13
     10_24_2018 10 28 39                                              Page 9


1    SINGER:       -- on the board is anteing up to get the right

2          president in.       It’s, you know, it’s crazy.

3    M1:   [08:00] Mm-hmm.

4    SINGER:       It’s crazy.    So l-- so just so you know, I don’t

5          know if you saw                                       --

6    M1:   Yeah.

7    SINGER:       -- and --

8    M1:   Uh, well, he was totally excited that there was a green

9          checkbox next to his Chapman electronic submission.

10         (laughs)

11   SINGER:       Uh, uh, absolutely.    So he’s done a fabulous --

12   M1:   But (inaudible), I, I have to say, between you doing what

13         you’re doin’ for him and              h, with her, you know,

14         c-- tutoring that he’s been getting, you know, and just

15         his writing, all that, i-it’s, it’s been -- it’s, it’s

16         not been a...       I mean, my memories as a kid is this was

17         totally torturous.       It’s felt OK with        .   I mean, he

18         needs some help on, um -- and he’s gonna need your help

19         on getting his pitch in to the Iovine and Young Academy -

20         -

21   SINGER:       Yeah.

22   M1:   -- just ’cause he doesn’t man-- as you know, he’s -- has

23         a hard time sort of managing his time, but he’s growin’

24         up.   I mean, he’s, he’s doin’ a lot better than he was.
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 11 of 13
     10_24_2018 10 28 39                                              Page 10


1    SINGER:       No, he’s, he’s been amazing, and he’s been on top of

2          stuff.     Like, he hounds me, which is so different,

3          because I was [09:00] hounding him.

4    M1:   Don’t you love that?     That’s great.

5    SINGER:       Yeah.

6    M1:   Very good sign.

7    SINGER:       No, that’s good, and, and --

8    M1:   Yeah.

9    SINGER:       -- and I’ll jump on         here soon.

10   M1:   Perfect.

11   SINGER:       Um, I just want to get all the applications done,

12         but I --

13   M1:   By the way, I got -- I got, uh,            , um...      We-- w-

14         weirdly, he did his first, uh -- you know, his PSAT, and

15         then he, at time and a half, ran out of time, and was

16         quite frustrated that he couldn’t finish.        And I called

17         the, the assessment -- you know, the neuros--

18         neurospecialist --

19   SINGER:       Yeah.

20   M1:   -- who had done the assessment for both           and            ,

21         and she said, “Why doesn’t he have double time?          I called

22         for double time.”     And his, his friggin’ school -- his --

23         like, she -- the woman who runs that, Rebecca, who’s a

24         lovely woman, but she sort of feels it’s her job to
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 12 of 13
     10_24_2018 10 28 39                                             Page 11


1          prevent kids from getting, you know, uh, concessions, um,

2          as opposed to being their advocate.       So it -- it’s right

3          there in his report, so we’ve gone back to her this week

4          and said, “You’ve gotta give him the double time, and you

5          gotta go back to ACT and SAT and pitch him for the double

6          time.”

7    SINGER:       Absolutely.

8    M1:   Um, [10:00] so we’re on that with         , as well --

9    SINGER:       OK.

10   M1:   -- to help him as he gets into his test cycle.

11   SINGER:       OK.   Well, that’s great.   So, thanks --

12   M1:   Yeah.

13   SINGER:       -- thanks for takin’ the call, and --

14   M1:   By the way, uh, so you know, the, the, uh, the, the...

15         You know, in my experience with a guy like that who isn’t

16         paying his taxes, the issue the IRS always has is taxes.

17         They, they -- the IRS doesn’t care about anything other

18         than you’re paying your taxes.      And, you know, they tend

19         to be aggressive about making sure that organizations are

20         doin’ what they’re supposed to do from a tax perspective,

21         but they’re -- that’s all they care about at the end of

22         the day.

23   SINGER:       Gotcha.   Gotcha.   Well, I appre--
      Case 1:19-cr-10080-NMG Document 972-24 Filed 03/25/20 Page 13 of 13
     10_24_2018 10 28 39                                             Page 12


1    M1:   And they really -- they really -- that-that’s, that’s the

2          whole kit and kaboodle is tax.

3    SINGER:    Well, I appreciate that, and thanks for keepin’ this

4          between us.    It’s just a little --

5    M1:   Of course.

6    SINGER:    -- embarrassing, so thanks.

7    M1:   No, it shouldn’t be embarrassing.       It is what it is.

8    SINGER:    OK.   Thanks, Bill.

9    M1:   All right, buddy.    (overlapping dialogue; inaudible).

10   SINGER:    Take care.     OK, bye-bye.

11   M1:   Yeah.

12   SINGER:    Uh...

13   (phone beeps)

14   SEDRONI:   This is Special Agent Kaitlin Sedroni, here with

15         Special Agents Lara Smith and Elizabeth Keating, as well

16         as AUSA’s [11:00] Eric Rosen and Justin O’Connell, and...

17   SINGER:    Finn.

18   SEDRONI:   It is Wednesday, October 24th, 2018, at approximately

19         10:39 a.m.    Uh, this will now end the recording.       Good.

20   [11:17]

21

22                             END OF AUDIO FILE
